        Case 17-06078-MM7                 Filed 03/17/20           Entered 03/17/20 14:25:53   Doc 377       Pg. 1 of 2
CSD 2065 [05/19/17]
Court Telephone: (619) 557-5620    Court Hours: 9:00am-4:00pm, Monday-Friday
www.casb.uscourts.gov

 Richard M Kipperman, Trustee
 P.O. Box 3010
 La Mesa, CA 91944
 Tel: (619) 668-4500
 Chapter 7 Trustee


          UNITED STATES BANKRUPTCY COURT
                  SOUTHERN DISTRICT OF CALIFORNIA
             325 West F Street, San Diego, California 92101-6991
In Re
 CORE SUPPLEMENT TECHNOLOGY, INC.,

                                                                                  BANKRUPTCY NO.   17-06078-MM7

                                                                     Debtor.



                            TRUSTEE’S NOTICE OF PROPOSED ABANDONMENT OF PROPERTY


TO THE DEBTOR, ALL CREDITORS, AND OTHER PARTIES IN INTEREST:

         Pursuant to 11 U.S.C. § 554 and FRBP 6007(a), notice is hereby given that the undersigned Trustee for this
estate intends to abandon the following property:

PROPERTY TO BE ABANDONED:
Claims against AlphaNutra Solution Limited, also known as Bestcom (WUXI) Biotech Co., Ltd. ("AlphaNutra") for relief
under 11 U.S.C. sections 547 and 550 for avoidance and recovery of transfers made by debtor to or for AlphaNutra's
benefit during the statutory preference period, as alleged in Trustee's complaint (ECF Doc. 1) filed in Adversary
Proceeding No. 19-90113-MM.



ESTIMATED VALUE OF THE PROPERTY:
Unknown


LIENS AGAINST THE PROPERTY:
Unknown


         The property is to be abandoned because:

                 There is little or no equity in the property for the estate.

                  Costs of collection or litigation will probably exceed any recovery.

                  Preservation of the asset is burdensome to the bankruptcy estate.

                  Other:    Although claims for $25,884 are alleged in the complaint, Trustee's further investigation
                            indicates that no sums are likely to be recoverable against AlphaNutra, and that costs of further
                            litigation and recovery will exceed the value of any recovery.


        By abandoning the property, the Trustee is returning the property to the debtor because it cannot, for the reasons
stated above, be liquidated for the benefit of creditors. Requests for additional information about the proposed abandonment
should be directed to the Trustee named below.

CSD 2065
           Case 17-06078-MM7                   Filed 03/17/20           Entered 03/17/20 14:25:53           Doc 377   Pg. 2 of 2
CSD 2065 (Page 2) [05/19/17]

IF YOU OBJECT TO THE PROPOSED ABANDONMENT:

1.           You are required to obtain a hearing date and time from the appropriate Courtroom Deputy for the judge
             assigned to this bankruptcy case. Determine which deputy to call by looking at the Bankruptcy Case No. in the caption
             on Page 1 of this notice. If the case number is followed by the letters:

                       -         MM        -         call (619) 557-7407            -         DEPARTMENT ONE (Room 218)
                       -         LA        -         call (619) 557-6594            -         DEPARTMENT TWO (Room 118)
                       -         LT        -         call (619) 557-6018            -         DEPARTMENT THREE (Room 129)
                       -         CL        -         call (619) 557-6019            -         DEPARTMENT FIVE (Room 318)

2.           Within twenty-one (21)1 days from the date of this notice, you are further required to serve a copy of your
             Declaration in Opposition to the Abandonment and separate Request and Notice of Hearing [Local Form
             CSD 11842] upon the undersigned trustee, together with any opposing papers. A copy of these documents must also
             be served upon the United States Trustee at 880 Front Street, Suite 3230, San Diego, CA 92101. The opposing
             declaration must be signed and verified in the manner prescribed by FRBP 9011, and the declaration must :

                       a.        identify the interest of the opposing party; and

                       b.        state, with particularity, the factual and legal grounds for the opposition.

3.           You must file the original and one copy of the Declaration and Request and Notice of Hearing with proof of service
             with the Clerk of the U.S. Bankruptcy Court at 325 West F Street, San Diego, California 92101-6991, no later than
             the next business day following the date of service.

        If you fail to serve your “Declaration in Opposition to the Abandonment” and “Request and Notice of
Hearing” within the 21-day1 period provided by this notice, no hearing will take place, you will lose your opportunity for
hearing, and the moving party may proceed to take the intended action.

Dated:        March 17, 2020                                               /s/ Richard M Kipperman
                                                                           Chapter 7 Trustee
                                                                           Address:       P.O. Box 3010
                                                                                          La Mesa, CA 91944


                                                                           Phone No.:         (619) 668-4500
                                                                           E-mail:            teresaj@corpmgt.com




1
    Depending on how you were served, you may have additional time for response. See FRBP 9006.

2
    You may obtain Local Form CSD 1184 from the office of the Clerk of the U.S. Bankruptcy Court.




CSD 2065
